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             A CERTIFIED TRUE COPY
             Laura A. Briggs, Clerk
             U.S. District Court
             Southern District of Indiana

             By
                                      Deputy Clerk




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         Addendum to Order Pursuant to 18 U.S.C. § 3582(c)

                   1:10CR00003-012
         Cause No. _____________________

                   Corey Tinnin
         Defendant _____________________


         As directed by 18 U.S.C. ' 3582(c)(2), the Court has considered the relevant factors in U.S.S.G. '
         1B1.10(b) and 18 U.S.C. ' 3553(a), and determined a sentence reduction is not appropriate for the
         following reason(s):

         _____ 1) The defendant is not eligible for a reduction because the amendments listed in
               subsection (c) of U.S.S.G. ' 1B1.10 are not applicable to the defendant.

           ✔ 2) The amendment is listed in subsection (c) of U.S.S.G. ' 1B1.10 and is applicable to the
         _____
               defendant, but it does not have the effect of lowering the defendant=s applicable guideline
               range (e.g. a statutory mandatory minimum term of imprisonment, binding plea agreement,
               career offender status).

         _____ 3) The defendant is eligible for a reduction under this amendment, but the Court has
               determined such a reduction is not appropriate because of the nature and seriousness of the
               danger to any person or the community that may be posed by a reduction in sentence.
               (Application Note 1(B) of U.S.S.G. ' 1B1.10.)

         _____ 4) The defendant is eligible for a reduction under this amendment. However, the Court
               has determined the post-sentencing conduct demonstrates the defendant may pose a danger
               to any person or the community by a reduction in sentence. (Application Note 1(B) of
               U.S.S.G. ' 1B1.10.)

           ✔
         _____ 5) Other (explain)

                    ________________________________________________________________________
                    The defendant's guideline range is not lowered as he is subject to the mandatory
                    minimum of 60 months.
                    ________________________________________________________________________

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Southern District of Indiana

By
                      Deputy Clerk
